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                             In the United States District Court
                                For the District of Columbia

Matthew Green, Andrew Huang, and            )
Alphamax, LLC,                              )
                                            )
            Plaintiff,                      )
                                            )   Civil Case No. 16-cv-01492
      v.                                    )
                                            )   Hon. Judge Emmet G. Sullivan
U.S. Department of Justice, William Barr,   )
Library of Congress, Carla Hayden, U.S.     )
Copyright Office, and Karyn A. Temple       )
                                            )
            Defendants.                     )

Declaration of Andrew “bunnie” Huang In Support of Motion for Preliminary Injunction

I, Andrew “bunnie” Huang, declare as follows:

A. I am a technologist and small business owner.

   1. My name is Andrew “bunnie” Huang. I am an electrical engineer, inventor, and owner of

       several small businesses, including Alphamax, LLC. I have a Ph.D. from the

       Massachusetts Institute of Technology, and I am a Research Affiliate of the MIT Media

       Lab. I am a US citizen and Alphamax is a Michigan corporation. The inventory for

       Alphamax is kept primarily in the United States.



   2. I have invented the following technologies, among others:


           a. The world’s first fully-integrated nanophotonic-silicon chips, winning the Lewis

              Award for Best Paper at the International Solid-State Circuits Conference in

              2007;



           b. Novena, an open hardware computing platform;

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          c. The Safecast Open Hardware Geiger Counter, in response to the earthquake that

              devastated Fukushima; and


          d. Chumby, an early “Internet of Things” device enabling the consumption of

              Internet content on common household appliances.


B. Section 1201 has limited my work with encrypted video streams.


   3. I invented a device known as NeTV2, which allows for the replacement of pixels in high-

      definition digital video streams. The device can overwrite pixel data to be displayed on a

      monitor. For example, NeTV2 can be used to cover up part of the video with an image of

      one’s choice.



   4. NeTV2 cannot, however, read out any of the pixel data from the original video stream if

      the video stream is subject to an access control measure known as High-bandwidth

      Digital Content Protection (“HDCP”).



   5. HDCP has the following background:


          a. HDCP was developed by Intel Corporation. HDCP relies on secret cryptographic

              keys to prevent viewing of HDCP-restricted media. To receive one of these secret

              keys from Intel, a manufacturer must promise to implement certain playback and

              copying restrictions.




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      b. As early as 2001, a security researcher determined that HDCP could be

          circumvented, but they did not publish their work, citing fear of prosecution and

          civil litigation under Section 1201 of the DMCA.



      c. In 2010, a “master key” for HDCP was anonymously uploaded to the Internet.

          The master key is simply a grid of very long numbers that Intel chose to use as the

          secret element in its cryptographic system. By doing arithmetic with these

          numbers, it is possible to bypass HDCP restrictions without obtaining secret keys

          from Intel or agreeing to their terms restricting playback.



      d. Intel has stated that it believes researchers independently derived a master key via

          mathematical analysis, rather than it being leaked by someone entrusted to keep it

          confidential.



      e. Intel has also stated that it would pursue legal action against anyone who used the

          master key to create an unauthorized device for HDCP playback.


6. Thus, I designed NeTV2 not to circumvent HDCP. As a result, NeTV2 does not access or

   adjust the pixels in high-definition digital video streams subject to HDCP. NeTV2 can

   merely overwrite those pixels with new information, with no knowledge of what colors

   the original pixels were to display. This design dramatically restricts NeTV2’s

   functionality. Each of the below examples would be possible if NeTV2 could circumvent

   access controls:




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       a. Everything created with NeTV2 is transitory, because it lacks the capability to

           save video data. Thus, it does not enable anyone to create new works for their

           own later enjoyment or to publish to others.



       b. NeTV2 has only a limited ability to create image overlays. They have sharp and

           often distracting edges, because NeTV2 cannot blend those overlays with the

           underlying video to smooth the edges.


       c. NeTV2 can add a text ticker to the edge of the screen, but it cannot rescale the

           original video, meaning that part of it will be cut off.


       d. NeTV2 cannot create a partially-transparent overlay.


       e. NeTV2 cannot display two streams at once (side-by-side or picture-in-picture).


       f. NeTV2 cannot transform the colors of the original stream to make the video

           accessible to people with visual impairment.


7. NeTV2 allows its users to add their own pixel data to override the data from the video

   stream. But such users cannot do any of the things listed above that require access to the

   input video data.



8. Despite these limitations, via a Crowd Supply funding page located at

   https://www.crowdsupply.com/alphamax/netv2, I set out to raise $15,000 to support the

   NeTV2 technology. I ended up far exceeding this goal, raising over $87,000 from over




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      two hundred backers who wished to purchase NeTV2 hardware and software in order to

      lawfully manipulate and transform videos.



   9. Consistent with this investor support, I frequently hear from customers and potential

      customers about features they desire that would require circumvention, features that

      would not infringe any copyright.


   10. There are several versions of NeTV2, using different hardware. Earlier designs are

      known as NeTV. All earlier designs also operate as described herein.



   11. NeTV2 does not read out any of the plaintext pixel data from the original HDCP-

      encrypted video stream, which creates the problems discussed above, because I and

      Alphamax are concerned that we could be prosecuted under Section 1201(a)(1) or (a)(2)

      if we used or sold a device with that functionality or published instructions for doing so,

      including software instructions.



C. As part of my company Alphamax, I wish to develop better speech-enabling technology.


   12. But for Section 1201, as part of my company Alphamax, I would create an improved

      version of NeTV2, called NeTVCR. Unlike NeTV2, which does not circumvent HDCP

      and thus cannot access video streams, I would design NeTVCR so that it does circumvent

      HDCP and thus can access video streams. NeTVCR thus would enable me and my

      customers to make fair and other noninfringing uses of works that are subject to HDCP.




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13. NeTVCR would enable many forms of socially valuable and noninfringing expression

   that NeTV2 does not, including:



      g. Political expression, e.g., a single video that displays both a live presidential

          debate, and the text of a commentator’s live blog, and avoids obscuring any part

          of the debate by rescaling the original video to fit alongside the commentary.



      h. Educational expression, e.g., side-by-side comparison between two films or a

          compilation of clips for media literacy education or use by students for self-

          expression, as well as language teaching by displaying subtitles.



      i. News expression, e.g., a single video that simultaneously displays the coverage of

          a live event by more than one news source.


      j. Safety expression, e.g., a video that displays a live program, and also text or

          visual overlay that notifies a home owner that a door has opened or reminds an

          old or ill person that they need to take their medicine, rescaling the original image

          so that it is not obscured.


      k. Cultural expression, e.g., a video gamer’s post of a video of themself playing a

          game, along with their own commentary about the game, or remixes of video

          game play and other videos.


      l. Commercial expression, e.g., a video in a sports bar that displays games, and also

          targeted textual advertisements for local businesses of interest to sports viewers.

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14. NeTVCR would also allow users to save and re-publish their creations, rather than

   viewing them only momentarily on a single display as with the NeTV2.


15. NeTVCR would also allow users to store high-definition digital video streams such as

   HDMI signals in a format of their choice. That is, as with older analog VCR devices,

   customers would be able to record programs for later viewing or for viewing on a

   different device, and convert them into a more portable format or a new format that can

   be understood and displayed by a wider range of devices. For example, a customer could

   optimize a video for their tablet and bring it with them to view while on a long flight or

   during their train commute.



16. But for Section 1201, I and Alphamax would publish software that can be used to

   upgrade NeTV2 devices to NeTVCR functionality and charge a fee for upgrade service

   or charge more for NeTVCR than for NeTV2. This upgrade is possible to achieve by

   publishing new software because the NeTV2 contains a general-purpose,

   reprogrammable computer. I and Alphamax publish the source code for NeTV2 and

   would do the same for NeTVCR. Source code is written in computer languages designed

   to facilitate the exchange of ideas among programmers. By publishing the source code,

   we communicate to others how the technology works and encourage them to discuss edits

   to improve the code, as they do for NeTV2 at https://github.com/AlphamaxMedia/, and at

   https://reddit.com/r/netv2/. Software is, after all, simply a set of instructions written in a

   language that can be understood by computers, as well as humans. In order to for

   software to achieve any function other than simply being read and understood by a

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      human recipient, a human must instruct a computer to follow the instructions

      communicated by the software. Similarly, decrypting something, such as video data, is

      simply math. A decryption program contains instructions detailing the mathematical steps

      required to achieve decryption and thereby compute the encrypted content.



D. Section 1201 prevents me and others from publishing NeTVCR software and engaging
   in speech via NeTVCR that requires access to decrypted videos.

   17. Section 1201(a)(1), the anti-circumvention rule, prevents me, Alphamax, and others from

      accessing videos encumbered by HDCP. Gaining access to these video streams is a

      predicate step necessary to all of the non-infringing uses identified above. All of the

      expression identified above, which builds upon copyrighted videos encrypted with

      HDCP, is prevented by the anti-circumvention rule. The fear of prosecution and civil

      litigation deters me and Alphamax from engaging in and enabling this speech by building

      and using NeTVCR. All of the activities that I describe as ones I or Alphamax ‘would

      like’ to do are activities that I or Alphamax would do, using videos I lawfully possess, if

      not for Section 1201’s prohibitions.



   18. Developing and testing NeTVCR requires that I bypass HDCP access controls on

      copyrighted works. This is so because different source materials produce different errors

      and visual artifacts. At the moment, without circumventing, I and Alphamax are unable to

      determine if certain screen artifacts are due to source material, cabling, or signal

      processing added on the monitor side, and thus unable to fix them. Getting pixel-perfect

      access to source video frames feeding into the monitor is necessary to readily debug such

      issues and develop NeTVCR.

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19. My customers would like to use NeTVCR for mixing, streaming, and recording video

   game feeds to the Internet. The HDMI output of the Playstation 3 video game console is

   encrypted with HDCP; it must be bypassed to make fair use of these output videos. These

   kinds of videos are ubiquitous for video game consoles that permit users to disable

   HDCP, demonstrating that a wide range of speech is being prevented for consoles, like

   the Playstation 3, that have mandatory HDCP on their output signals.



20. I am learning Chinese and I would like to circumvent using NeTVCR in order to run a

   program to automatically display the pinyin pronunciation of Chinese characters to aid in

   learning for myself and others.



21. I would like to circumvent using NeTVCR in order to make personal backup copies of

   media that I currently own in a format encumbered with access controls, such as Bluray

   discs and DVDs.



22. I would like to circumvent using NeTVCR in order to save for later viewing a program

   shown only at a particular time.



23. I and Alphamax would like to circumvent using NeTVCR in order to create fair use

   videos that demonstrate the device’s capabilities and teach others how to use it. Because

   of massive demand from users of NeTV2, I would like to demonstrate ‘alpha blending,’

   which enables transparency and smooth edges for overlays and makes the output look far



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   more credible, modern, and professional and eliminates distracting, jagged edges. Also

   because of widespread interest, I would like to demonstrate the ability to extract the

   lower portion of each video frame to train a machine learning system to recognize the

   symbols in the subtitles. This analysis is a stepping stone towards many other uses,

   including the real-time display of pinyin pronunciations or other annotations based on the

   information contained in the subtitles.



24. Sometimes the overlaid video colors appear colored with shades of pink and green. This

   happens because the video source has changed its color encoding scheme, but this change

   is a secret to NeTV2 because the color encoding scheme information is also encrypted by

   HDCP. Without the ability to circumvent, NeTV2 is effectively color blind, and instead

   users need to be trained to log into their NeTV2 devices and run commands to adjust the

   color encoding scheme. This is a great inconvenience to users and limits the audience for

   NeTV2 to fairly technical users. Users without that technical know-how will regularly

   find that their output has distorted colors, preventing them from expressing themselves as

   they intend to.



25. Section 1201(a)(2), the ban on trafficking in technology that can circumvent access

   controls, deters me and Alphamax from distributing NeTVCR. We would like to sell the

   NeTVCR software and devices pre-loaded with that software, but are deterred from doing

   so by the fear of prosecution or civil litigation. Because we are deterred from

   disseminating this tool, our customers never have the opportunity to engage in the speech

   identified above.



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E. In the 2017-2018 Triennial Rulemaking, the Librarian of Congress denied my petition

for an exemption.



   26. I participated in the 2017-18 Triennial Rulemaking, seeking authorization to engage in

       circumvention of HDCP to make noninfringing uses of audiovisual works, for a variety

       of speech activities, including many examples given above.



   27. The Librarian of Congress denied my petition. The Librarian’s Final Rule did not include

       any reasoning, but summarized and incorporated by reference the reasoning of the Acting

       Register of Copyrights. The Librarian said that the Acting Register “concluded that the

       request was an individual case of de minimis impact as it was largely made upon a single

       request of an individual...”



   28. If the Librarian of Congress had granted the exemption I requested, I would be free to

       engage in the many noninfringing speech activities described above without fear of

       Section 1201(a)(1).




I affirm under penalty of perjury that the foregoing facts are true.


________________________________                                 Sep 18, 2019
                                                              _______________
Andrew “bunnie” Huang                                         Date




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